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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


 KAO LEE YANG, Individually, and obo,               CIVIL ACTION
 S.V. & T.V., Minors
                                                    NO. 4:18-cv-00161
          Plaintiff,
                                                    JUDGE HUGHES
 versus
                                                    ADMIRALTY
 TEICHMAN GROUP, LLC, et al.

          Defendants.

                                       consolidated with

 MARCUS WILSON                                      CIVIL ACTION

          Plaintiff,                                NO. 4:18-cv-00161

 versus                                             JUDGE HUGHES

 TEICHMAN GROUP, LLC, et al.                        ADMIRALTY

          Defendants.

                                moving to be consolidated with

 IN THE MATTER OF THE COMPLAINT                     CIVIL ACTION
 OF CHERAMIE DIVE SUPPORT, L.L.C.
 AND CHERAMIE MARINE, L.L.C., AS                    NO. 4:18-cv-001366
 OWNER AND OPERATOR OF THE M/V
 ELLIOT CHERAMIE, FOR                               JUDGE BENNETT
 EXONERATION FROM OR
 LIMITATION OF LIABILITY                            ADMIRALTY




              PETITIONERS CHERAMIE DIVE SUPPORT, L.L.C.’S AND
          CHERAMIE MARINE, L.L.C.’S NOTICE OF STAY OF PROCEEDINGS


       NOW INTO COURT, through undersigned counsel, comes Petitioners Cheramie Dive

Support, L.L.C. and Cheramie Marine, L.L.C. (collectively “Petitioners”), who appear solely for

the purpose of notifying this Honorable Court that Judge Bennett of the United States District

Court for the Southern District of Texas – Houston Division, in Civil Action Number 4:18-cv-

01366, entered an Order Approving Ad Interim Stipulation, Directing Issuance of Notice, and

Restraining Prosecution of Claims on September 7, 2018, which, in pertinent part, restrains,



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stays, and enjoins the commencement and/or further prosecution of any and all claims, actions,

suits and/or proceedings, and the taking of any steps and the making of any motions in such

claims, actions, suits and/or proceedings, against Petitioners, and their underwriters, or against

any property of Petitioners, with regard to the claims and causes of action alleged by all parties

in the instant litigation.1

        Given the Order Approving Ad Interim Stipulation, Directing Issuance of Notice, and

Restraining Prosecution of Claims, there may be no further proceedings in this Honorable Court

against Petitioners, and their underwriters.

        Respectfully submitted on September 10, 2018.

                                                    WAITS, EMMETT, POPP & TEICH, L.L.C.


                                                    /s/ Mark A Hill
                                                    MATTHEW F. POPP, Attorney-in-Charge
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                                                    Counsel for Cheramie Dive Support, L.L.C. &
                                                    Cheramie Marine, L.L.C

                                     CERTIFICATE OF SERVICE
        I hereby certify that to the best of my knowledge all counsel of record consent to and

participate in receiving electronic notification from the CM/ECF system, and that the Clerk of the

Court for the Southern District of Texas, using the CM/ECF system, will electronically send

notification of the filing of this pleading to all counsel of record.

                                                    /s/ Mark A. Hill
                                                    MARK A. HILL
1
 Exhibit 1, Order Approving Ad Interim Stipulation, Directing Issuance of Notice, and Restraining Prosecution of
Claims, Southern District of Texas – Houston Division Civil Action No. 4:18-cv-01366.


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